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                                           THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX               LAW DEPARTMENT                                                JAMES CULLEN
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       June 16, 2023

       BY ECF
       The Honorable Lorna G. Schofield
       Southern District of New York
       500 Pearl Street
       New York, New York 10007

               Re:     Aguilo, et al. v. City of New York, et al.,
                       Civil Action No: 1:22-cv-09204

       Dear Judge Schofield:

                      I am an Assistant Corporation Counsel in the Office of the Corporation Counsel of
       the City of New York, attorney for Defendants the City of New York (“City”) and the New York
       City Police Department, in the above-referenced matter. Plaintiffs’ Complaint alleges that
       Defendants failed to provide on-site interpreters or other communication technology to people who
       are deaf and brings claims under the Americans with Disabilities Act, Rehabilitation Act, New
       York State Law, and New York City Law. I write jointly on behalf of all the parties, pursuant to
       your Honor’s directive to provide a status report by June 15, 2023.

                       The parties have completed the majority of paper discovery. Specifically, the
       parties have served initial disclosures, document requests upon each other, produced responses,
       served interrogatories, and agreed to a protective order to produce confidential documents. And
       the Parties will each exchange responses to their interrogatories by June 23, 2023. Thus, much of
       paper discovery has been completed, though neither party has waived the right to further
       productions or requests. Given that there are eight Plaintiffs, who allege multiple interactions with
       different police officers, the parties anticipate that they will have to conduct approximately 15 to
       20 depositions in order to complete discovery.

                       In light of recent medical issues of counsel, and given the number of depositions,
       including those of Plaintiffs which will require interpreters and take longer than usual, the Parties
       jointly respectfully request an extension of time to complete fact discovery, which is currently
       scheduled to close on July 25, 2023.

                      There are several reasons for the Parties’ requested enlargement. The first is
       medical issues in my office. I recently suffered a knee injury which has caused me to miss several
       days of work and, depending on the results of an upcoming MRI, may require surgery, which
       would lead to further delays. Additionally, a colleague on my team unexpectedly had to take
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emergency leave, causing my supervisor and our team members to take on additional work to
support the work of our colleague.

               The number of depositions is also quite large and will likely take more time than
typical depositions. Defendants will depose each of the Plaintiffs, and the Plaintiffs intend to
depose the police officers who responded to the number of incidents as well as other New York
City employees. And because depositions of the Plaintiffs will require Certified Deaf Interpreters
(“CDI”), in addition to American Sign Language Interpreters (“ASL”) (i.e., both the CDI and ASL
Interpreters will work together simultaneously as a team) these depositions are also likely to take
a much longer time than is typically needed.

                Finally, the Parties believe that settlement for some or all Plaintiffs is possible,
should the Court grant this extension. As stated in the previous update, the Parties have agreed that
negotiations should begin in earnest when responses to interrogatories are complete. While the
Law Department has not completed its internal process for determining if, and how much,
authority is appropriate, it anticipates that with this extension the Parties would be able to negotiate
before depositions begin. Of course, settlement may not come to fruition, but the Parties contend
that the opportunity to negotiate is in the interest of judicial economy.

               Accordingly, the parties jointly respectfully request a 90-day extension of time,
until October 25, 2023, to complete fact discovery. This is the Parties first request for an extension
of time to complete fact discovery.

               The parties are working cooperatively to narrow the issues in this matter and reach
a resolution. We thank this Honorable Court for its kind attention in this matter.


                                                               Respectfully submitted,
Application GRANTED IN PART. Discovery is
extended to August 25, 2023. The Civil Case                    /s/ Jay Cullen
Management Plan issued February 17, 2023, granted
the parties' request for an extended timeline for fact         Jay Cullen
discovery due to the need for interpreters. A revised          Assistant Corporation Counsel
case management plan will issue separately. By                 Attorney for the Defendants
June 30, 2023, the parties shall file a further status
letter. The letter shall state the names of each
                                                               /s Clara R. Smit
person to be deposed and the date, agreeable to all
                                                               Clara R. Smit, Esq.
counsel and the witness for each deposition, for               Attorney for the Plaintiffs
incorporation into the case management plan. No
further extensions of discovery will be granted                /s Bruce J. Gitlin
absent a showing of extraordinary circumstances.               Bruce J. Gitlin, Esq.
So Ordered.                                                    Attorney for the Plaintiffs

Dated: June 21, 2023
      New York, New York
